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              MOTION
             EXHIBIT 10

         FILED UNDER
             SEAL
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     1/4/23, 2:30 PM                                                  Faculty and Staff DonsApps Mail - questions


                   Apps                                                                                         Katrina Garry <kgarry@usfca.edu>



       questions
       11 messages
       Diane Lynn Nelson <dlnelson3@usfca.edu>                                                                       Tue, Dec 21, 2021 at 10:46 AM
       To: Katrina Garry <kgarry@usfca.edu>, Jess Varga <jvarga@usfca.edu>


         I updated the spreadsheet with those you can reach to this week — ty!



         Hello — pls see questions below:



         -Do you know of any violations?

         -Have you ever had a negative experience?

         -Are you aware of any players that have brought any concerns forward? To who? What, where etc..




         Thank you,

         Diane



         Diane L. Nelson
         Assistant Vice President
         Human Resources

         University of San Francisco
         DInelson3@usfca.edu

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         Human Resources: Our mission is supporting yours




       Katrina Garry <kgarry@usfca.edu>                                                                              Tue. Dec 21, 2021 at 11:50 AM
       To: Diane Lynn Nelson <dlnelson3@usfca.edu>
       Cc: Jess Varga <jvarga@usfca.edu>

          Notes front talking to

               • Knows there is an instance this fall coach where Naks did violate the University Policy... he knows I, Trina, have talked to a
                 bunch of people and probably have more information because he was not there.
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                                                                                                                         PROTECTIVE ORDER
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      1/4/23, 2:30 PM                                                  Faculty and Staff DonsApps Mail - questions
               • Skits to loosen up before practice,         wasn't there because of class, and he heard of this happening but he thought it was an
                 exaggeration that he got naked and because it was so completely out of character
               •        believes that this was addressed after practice- it was a coaching staff only, and it was not addressed to players about it
                 (coaches took care of it)
               •        has had very positive experiences - He does not believe negative experiences were coaches yelling at people, because that
                 is constructive criticism and that they want better out of them or trying to teach them. The coaches never hate anyone or dislike
                 them
               • Past thanksgiving hadn't gone home in so many months - Naks invited              and his roommate over for thanksgiving dinner
               • Being a 5th year on the team has a different experience and maybe for younger players have a different experience with
                 coaching staff
               • Kangaroo court is not a place of bashing. he lied to me because he felt like the way it was going to be interpreted was negative.
                 it is not a format to go after each other - not an always happening thing and happens here and there.
               • Our culture hasn't changed has always been player driven, core values
               • Knows complaints coming forward, because from a team only meeting - were told that three people were no longer apart of
                 the team, they we were not told explicitly that these were the people released form the team, but when they had the final player
                 meeting the last saturday before they left the 3 people cut from the team were not present. So when they were at the meeting
                 people were able to "deduce" information.
               • Started the fall with 7 or 8 more people then in the meeting - J                                      also people who were cut.
                 This is typical because "Division 1 baseball in really competitive conference, not out of disrespect if you get cut, and trying to
                 win and you are not quite there yet "
               • Player-only format, can include coaches, to hold each other accountable for being good teammates, if you are leaving stuff
                 around and gear, people are going to fine you for it. Fines: entail 50 cents, 1 dollar, 2 dollars, - or you do something for that
                 person, like their field job. it can involve school stuff at your house, not doing dishes or leaving messes, bringing them up to a
                 roommate or friend. $10 -$15 a dollar over time.
                        led the meeting fully after a saturday player development- typically one coach on the zoom coach giannino. He kept the
                 team back and asked coach giannino to elave. He expressed the conversation that we had - we aren't living by and upholding
                 our values as a team and it is being reported and looked at in these various ways. we don't need to hide anything but we need to
                 bring forward core values daily. not go out of our way to prove innocence and act in the highest standard. Someone asked:
                 How can we change our actions if we don't know what we are doing wrong?                told them to check the person next to you
                 carefully and be honest with yourself.
                 "Loose lips sink ships"- that's dialogue that would have just within that group - if that information gets out can get detrimental.
                 "Sure you can say things in the locker room, but if you are outside the locker room". have those conversations with the
                 roommates, hear this from coaches as well. definitely can go farther than that - can be in a social setting and you are a baseball
                 player, and you have a bad relationship with a basketball player, that could be a fight and then it could hurt people, and hurt
                 both teams.
                 He asked me if it something the players or team did that is also involved with the coaches suspension. I told him f couldn't
                 answer that question, and we are trying to get as much information as we can.

          Thanks,
          Trina
          [Quoted text hiddenl


       Diane Lynn Nelson <dlnelson3@usfca.edu>                                                                       Tue, Dec 21, 2021 at 11:52 AM
       To: Katrina Garry <kgarry@usfca.edu>
       Cc: Jess Varga <jvarga@usfca.edu>



          This is awesome! Calls shouldn't have to be to long.



          Thank you,

          Diane



          Diane L. Nelson
          Assistant Vice President
          Human Resources
                                                                                                                                                       2/7


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          DInelson3@usfca.edu

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       Katrina Garry <kgarry@usfca.edu>.                                                                             Tue, Dec 21, 2021 at 11:56 AM
       To: Diane Lynn Nelson <dlnelson3@usfca.edu>
       Cc: Jess Varga <jvarga@usfca.edu>

          Yep- hoping to schedule the other ones soon.         feels like students might be scared to talk and was curious what he should tell folks
          if they want to come forward. I just let him know anyone who does want to share is more than welcome to schedule a time, and that
          the university is just trying to get a full picture.
          [Quoted text hidden]



       Diane Lynn Nelson <dlnelson3@usfca.edu>                                                                       Tue, Dec 21, 2021 at 12:15 PM
       To: Katrina Garry <kgarry@usfca.edu>
       Cc: Jess Varga <jyarga@usfca.edu>

         Perfect!

          Sent from my 'Phone


                  On Dec 21, 2021, at 11:57 AM, Katrina Garry <kgarry@usfca.edu> wrote:



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       Katrina Garry <kgarry@usfca.edu>                                                                               Tue, Dec 21, 2021 at 4:06 PM
       To: Diane Lynn Nelson <dlnelson3@usfca.edu>
       Cc: Jess Varga <jvarga@usfca.edu>



               • Never heard of violations
               • Never heard of any negative experiences
               • Heard of a player who has had major issues with Coach G, first fall for two years of Dons because everyone kept
                 over the covid year. speculation is COVID meeting -- and has lead to this miscommunication and this issue
                 Concerning for us because a lot of us are on the same page- but confused and worried and felt like someone's voice
                 is echoing over their own.
                 Wanting to make sure they aren't blind to something that happened, and to make it known how many people
                 appreciate G and Naks.
                 Communication - had the email from Joan/Frank/Coach Matt, he sent a message from Coach G to let him know he
                 is in support. His response "make sure you are telling the truth" and that is what is getting us through this
                 Would never assume they are Naks and Coach G are criminals
                 From speculation - "players on the team that were on scholarship, this is a messy topic, historically have been
                 players would like to stay on the team and have scholarship, and due to their contract can still attend school but not
                 play. From a coaching standpoint that is problematic because they are difficult to have those players. "
                 "Did have a player that he came in with - same state and same team as you, and they definitely butt heads a bit, that
                 he isn't capable of being cut, Coach G writes the lineup and sometimes will say he will make phone calls for them,
                                                                                                                                                       3/7

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                 and he won't play at USF that can go more difficult. His personality and G's coaching style didn't mesh well. He
                 didn't feel like that was what he needed... his exit meeting went well, because they said we can get you the help we
                 need but it is not here. His personality was cocky, bubbly, and G is old school, having been in the game for 3O+
                 years, making adjustments and doing small things really well.            is the name of the player. you have the tools
                 how do we make that work in this system"
               • "Very animated Naks- he yells at people revisiting the conversation. He wears his heart on his sleeve, we are like his
                 brothers in some ways,         nd         and they have a really tight relationship about school, everything. When the
                 players are having our own private conversations outside of baseball, he doesn't get involved. He can be rough with
                 everyone, plays a game with grenades that if it lands in 5 feet to you have to duck down. Is very playful"
               •         can remember times when Naks was "weird" when they first met him, and for freshman he is yelling and
                 screaming, and cracks a ton of jokes and sometimes can be real serious when you are slacking off. This can be
                 confusing to new players. Players will stick together at the expense of a coach if needed.
               • Wants to reiterate that these men have made him the man he is today.

          [Quoted text hidden]


       Katrina Garry <kgarry@usfca.edu>                                                                                     Wed, Dec 22, 2021 at 9:07 AM
       To: Diane Lynn Nelson <dlnelson3@usfca.edu>
       Cc: Jess Varga <jvarga@usfca.edu>



                   Close friends allegers - played the same position as                        minute after the zoom call. Didn't answer the call, "it
                   wasn't in their best interest". He had told           that he was going to bring forward what was transpired, it was pretty obvious
                   from who was on the zoom call and who was on the team.
               •   "what has transpired" - allegations to open up the investigation and to get "Naks and G fired"
               •   24 hours after        called           he texted         and let him know he was one of the people that came forward and wasn't
                   the first person and           feels in a bind. Feel slightly harassed - and took an emotional toll.           feels like        is trying to
                   bring          into this, texts attached, and take his side in this situation, and it is a tough situation, and J         is 23 and doesn't
                   want to be in a huge situation, and i don't know what went on in the allegations. It is an HR employee problem so he
                   understands someone is acting unethically
                           feels uncomfortable that someone would think he was the first person who brought this forward... but not
                   uncomfortable from someone else from the team
                   The group talks to each other but doesn't use names or specifics,            and          talk a hit before this happened going to
                   Kings/Warriors on the 20th- but this felt atypical and he had mentioned he had been thinking about this beforehand. J
                   felt weird that he hadn't talked to him going into it and then this got brought up. and J            never talks to        after practice.
                   Doesn't believe         has talked to anyone except for             wanted to talk to          about the situation.
                   Joan the AD has told the team "everything can be used and acts as if everything is recorded" and it can come back to get you.
                   "Make sure everything is being handled so nothing can be bullying or retaliation". People are really on-edge in this situation
                   and the "situation of the world" and one thing can be said and spun a million different ways. " I didn't want to be on record for
                   saying something about this situation, but didn't want anything to come back and get me. This isn't my doing".
                   Wrapping up the year, the last couple weeks the team ended in late November-                 would talk to          and
                           didn't have the best relationship with Coach Naks - background on                  experience started as
                   then redshirted went to junior college, then went to                                                                      has seen a lot of
                   different programs and conferences and parts of the united states and "you won't get along with everyone".
                   Hypocrisy in some of Coach Naks messages - being a "man" first and holding yourself to the highest regard and those are their
                   words and Coach G's words and at the end of the day they can be "emotional" and not conducive to your learning.                         has
                   Father/Son relationship with Coach G
                   Only negative experience : coach Naks yelled at               for giving up home run because he went to get water and ibuprofen,
                   and felt that was silly for that being the fact
               •   Unethical things of coach naks could be pulling scholarship money
               •   Worked as Director of Operations for the program in summer of 2021 as colleagues and coaches
               •   Naks doesn't see himself as player but more a "father" figure but              doesn't have strongest relationship and has
                   relationship with a lot of the players and doesn't view himself as a player but a leader.              can be a "hot-head" nand Coach
                   G sits down and has good conversation when he acts wrong. sometimes Coach G is more aggressive in his approach
                   sometimes with first-years who don't have this relationship.
                   Skits - 5-10 second skits at beginning of practice to share some laughs with the guys and 4 stations with the guys for each base.
                             friend lane got hit in the head a few times last year - trenches guy and blue-collar and is that guy that gets bonked on
                   the head and re-enacted him getting hit on the head. Doesn't really play mind to them and get ready for practice and sometimes
                   can't hear the stations and baseball is field. Semantics at this point and           doesn't like the skits - you have never noticed
                   nakedness or anything like that happening.



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                   Only violation: there was a time when Coach Naks was bear crawling and his butt-crack was out and said "whale-tale" -
                           didn't see it
                   My skit is last - assembling skit or if it is assembled        not paying attention heard to tell and            group is smaller in
                   nature and put something together and lot of moving pieces.
               •           believes the coaches care more about these athletes, see more alumni involvement than any other program.
               •   The Team is encouraging people to reach out to Joan, Diane. Trina because they want to share the right decision and let people
                   know if they have something to say please. Conducive and encouraging atmosphere and that Diane, Trina are here to help us.
               •   Team embodies changing the world from here motto that comes from the university.
               •   Kangaroo courts happen everywhere - player-ran everywhere you've been, "the nature of the beast" build camaraderie, it is all
                   the same anywhere           has been. It's in the lockerroom, sitting, people telling stories to get a laugh, fine associated with
                   nothing egregious, or blatantly horrible. it is just "hanging out with the guys" . "not the greatest way to build team culture". If
                   you see somethign stupid you will be upset, way to share laughs, forgetting something for practice. Nothing egregiously off
                   campus, but nothing egregious like you did something "illegal". roommates call eachother out. Nothing about disrespecting
                   women and it would be shut down at this university, can't really say that for the other schools he's been too. If someone crossed
                   a line and speaking poorly of a woman that would not fly.

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       Katrina Garry <kgarry@usfca.edu>                                                                               Wed, Dec 22, 2021 at 10:33 AM
       To: Diane Lynn Nelson <dlnelson3@usfca.edu>
       Cc: Jess Varga <jvarga@usfca.edu>



                 team is really worried about what happened at UC Davis where the team got cut and 4 months of investigation
                 everyone knows who reported because they were on a zoom call, and not on the team, and no one else was on the team, wasn't
                 the best way for that to happen.
                 "These are very hard lines to cross adn this is our career- it is tough and we do not want to mess up our career, and if someone
                 finds out if someone said something, not the best for what we have going on. I don't know what we are investigating and what
                 we are even talking about"
               • "If you want more information on the investigation, and knowing baseball teams, if someone says something for the
                 investigation, and don't put their name on the investigation. "
               • Junior college transfer - second year at USF
               • "I'm not educated on any of the rules" the time on the field is not even close to NCAA rules it is a lot more time. "i'm not
                 aware of the policies" and it would be nice for them to even tell us... "student-athletes have a lot of rights as players we just
                 follow what they tell us to do" and not any rules at all. Junior colleges don't have any rules, and at USF the compliance office
                 will send out schedules to players and                wouldn't confirm it and left it blank and moved on, and other players would
                 have confirmed that. "we don't want any issues because we want to play" "if we don't play we don't get drafted"
                 That happens a lot - it is hard to give examples, "I'm an older member on the team so I do understand how things should go".
                 The coaches threaten to cut a lot of guys, they will tell you that you don't deserve to be here.            has had that experience
                 before it - I got a lot, hard to take in, and last year          transferred here. hard to exactly quote was said because it was a
                 long time ago. especially with. newer guys and you feel like even if you know you are on the team you still feel like there is a
                 chance you could get cut. They will say anything to you. Coaches will curse at you- not out of ordinary, not embarrassing.
                 normal curse words and of course they will "cuss" at you and not anything out of ordinary.
                 "Opposite at USF - players were all different and didn't really have a culture, at USF the players are what keeps it going,
                 everyone loves each other, and we confront each other when something is bad, and everything we do is for culture and is for
                 every last player on the roster. Team and player are very close, you can say anything to anybody"
                 for new players hard to get acclimated especially when everyone knows each other, once you start playing you "get it".
                 Everyone just wants you to work hard, don't judge people about how they play. but how they act, if you are a good teammate
                                                                                                                                                          517



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                  and getting acclimated is being yourself. Coaching for performance.
                  "can't bring up every detail but the time thing is probably the worst part"
                      0 sunday 9 inning scrimmage for 5 hours, monday weights and conditioning, tuesday, wednesday, thursday, friday,
                          saturday. No real time off
                  No experiences or concerns brought up by other student-athletes. and all teams seem to like baseball
                  "You always hear stuff in the locker room, but I don't want to talk about this, what is talked about is confidential". A lot of
                  people talk about the time, and you play everyday and 60 games and know it will never let up, and have team practice on
                  break.
                  Time is part of coaching culture
                  Not really believing anything to be out of normal, not out of the ordinary. Don't know how the rules apply to how it works. and
                  know everyday how life goes. "Don't know what is right and what is wrong"

          [Quoted text hidden]



       Katrina Garry <kgarry@usfca.edu>                                                                              Wed, Dec 22, 2021 at 3:35 PM
       To: Diane Lynn Nelson <dlnelson3@usfca.edu>
       Cc: Jess Varga <jvarga@usfca.edu>


               • Violations: "I'm not sure what the policy is", "nothing that sticks out from ordinary", not aware of individual policies, in 5th
                 year at the program
               • No absolutely no negative experiences, "fantastic experience" took the opportunity to come back for 5th year because of
                 culture of program, best friends for life on team, coaches and leaders on the team, molded who he was as a person.
               • Culture of program= set expectations from older guys at the time. being athletics at school like this and that carries extra
                 weight being under microscope and holding ourselves accordingly. whenever you are wearing school gear. holding ourselves
                 to highest standard and being good people first. Stressed from coaches "making men" being a good person first, a brother hood
                 first. bond and camaraderie
               • Coaches set expectations - G has been around for 2 decades, get more and more involved and recognize faces - trickle down
                 mentality that has happened for way longer than          has been there. Came from who are coaches were
               • not any big specifics - incident before       came in that he doesn't know anything at all, blemish that happened, incident at a
                 halloween or christmas party with a player that happened, hazing and sexual harassment incident --a player innapropriately
                 touched a staff member - gets sorted out within the team, there was an investigation about it at the time. No tolerance policy on
                 the team. They get checked- we are accountable for one another and it gets checked quickly.. can mean whole multitude of
                 things and if you are in a class with someone and they aren't being quite, we hold ourselves to a very high standard.
               • "I'm sure the coaches have meetings outside, only time coaches apologize is when in the heat of the moment G will apologize
                 after the fact, because he curse at a player or was really angry"
               • A lot of players go through the same kind of curve, freshman year is hard "whole different type of school", lot more freedom
                 being in college, freshman year was tough balancing time management and school and baseball, within the team - "team was
                 what helped me get through it". Older guys talking to         telling him to keep working, under microscope to coaches and get
                 comfortable with that, there is a learning curve ditT curve for different players.
               • jumping up a level in your sport and much higher level with higher expectations, lots more hours, lot more work -
                 personally spending full-time work 40 hours a week - but more likely 15/20 hours a week if just team affiliated.
               • He believes that freshman year it is much more difficult for people - when that is going on, it is hectic, you are trying to figure
                 out what you are wanting to do what you want to work/talk about.                   know what to do in order to succeed, knows
                 what you need from other people. When you find that clarity all depends on who you are...
               • concerns are how much am i going to play, is that person playing more than me, no clear answer.
               • They are the best guys and mentors and have made            who he was
               • Talks about zoom meeting with people on their team who are no longer on their team and feels like it is "weird" this is only
                 coming up now

         [Quoted text hidden]



       Katrina Garry <kgarry@usfca.edu>                                                                              Wed, Dec 22, 2021 at 3:36 PM
       To: Diane Lynn Nelson <dlnelson3@usfca.edu>


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       Katrina Garry <kgarry@usfca.edu>                                                                              Mon, Mar 21, 2022 at 1:04 PM
       To: Julie Orio <orioiOusfca.edu>
                                                                                                                                                       6/7

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                  Forwarded message
          From: Katrina Garry <kgarry@usfca.edu>
          Date: Tue, Dec 21, 2021 at 11:50 AM
          Subject: Re: questions
          To: Diane Lynn Nelson <dlnelson3@usfca.edu>
          Cc: Jess Varga <jvarga@usfca.edu>


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